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 1                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 2                                SAN FRANCISCO DIVISION

 3

 4     UNITED STATES OF AMERICA,    )        Case No.         20-cr-00249-RS-1
                                    )
 5                 Plaintiff,       )        San Francisco, California
                                    )        Thursday, April 6, 2023
 6          vs.                     )
                                    )        ZOOM WEBINAR PROCEEDINGS
 7     ROWLAND MARCUS ANDRADE,      )
                                    )
 8                 Defendant.       )
                                    )
 9     _____________________________)

10

11                        TRANSCRIPT OF DISCOVERY HEARING
                        BEFORE THE HONORABLE LAUREL BEELER
12                         UNITED STATES MAGISTRATE JUDGE

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25     Proceedings recorded by electronic sound recording; transcript
       produced by transcription service.
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                                                                                                 3


 1      SAN FRANCISCO, CALIFORNIA             THURSDAY, APRIL 6, 2023               10:39 A.M.

 2                                            --oOo--

 3                  THE CLERK:          Calling Civil -- I’m sorry -- calling

 4     Criminal Action 20-249, USA v. Rowland Marcus Andrade.                          Counsel,

 5     if   you    could   please    state         your    appearances,       starting      with

 6     Plaintiff.

 7                  MR.    HIGHSMITH:         Good    morning,        Your    Honor.        Chris

 8     Highsmith for the United States.

 9                  THE COURT:      All right.

10                  MR. SHEPARD:         And good morning, Your Honor.                       Mike

11     Shepard, Kerrie Dent, and Cindy Diamond for the Defendant, Mr.

12     Andrade, who is present by Zoom and consents to proceed in that

13     fashion.

14                  THE COURT:      Okay.      Great.       So thank you for -- on the

15     plus side, I think you’ve substantially narrowed your dispute.

16     I’m going to give you a little background, some observations, tell

17     you what I’m thinking.           We can have a constructive conversation.

18                  So here’s the thing.            I’ll just say it’s an accident of

19     history that the criminal discovery rules are what they are.                            It

20     was an interesting opportunity to back into Rule 16.                          Usually we

21     deal with things in a Brady context.                 A Wisconsin professor sent

22     me some very interesting articles recently.

23                  But    in   December      --    when    we    first     got     together   in

24     December and, you know, I -- you can’t see it, but there -- you

25     gave   me    a   good    chunk    of    paper.            It   was    like    this    much
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                                                                                      4


 1     (demonstrating) paper.         And I did what I do in civil discovery,

 2     which is -- and I don’t have that many disputes on my civil trial

 3     docket; I really don’t -- even in the biggest of cases, but you

 4     say to people -- which is what I did in December -- "Oh, my Lord,

 5     how can you expect me to read all this stuff?                The business model

 6     doesn’t permit it.          I work really hard already -- you guys know

 7     that -- and I can’t -- like, aah -- that was essentially --

 8     Prioritize for me what comes first.

 9                   Mr. Weingarten was there in those hearings, and he --

10     you know, he’s not here so I can say nice things about him behind

11     his back -- but he’s a very thoughtful, nice guy who tries to fix

12     problems.      He’s very agreeable and generous generally in his

13     approach to things.         And he was kind of pulling his hair out.           I

14     was not unsympathetic because I felt -- so I -- you know, and I

15     was not unsympathetic to that because I felt constrained by the

16     volume of information that you presented to me.

17                   And so then you did reduce your issues -- thank you for

18     doing that.      And finally I just set aside a ridiculous amount of

19     time to go through everything that you guys gave to me.                   When I

20     say "ridiculous amount of time," I’m not even going to tell you

21     the   hours     I   spent    outlining     your    case,     understanding   it,

22     reading -- I tried in my mind -- just to the Government’s earlier,

23     you know, "We should know what the Defense is saying under seal.

24     It’s really not fair, even though we get that there’s case law

25     that supports it.      It’s not fair."        But the -- but the reality is
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                                                                                   5


 1     that the Defense showed its hand saying why it mattered pretty

 2     specifically in the subsequent filings, you know, 153, 158,

 3     whatever the numbers are, that are attached on the docket.

 4                So I feel like we’re all -- so I did read everything,

 5     even though I think whoever wrote the paper -- I don’t know if it

 6     was Ms. Dent -- but said, "You don’t have to read everything

 7     because we’ve narrowed it for you.          Now you only have to look at

 8     this."    I read everything.         I went through everything.        And I

 9     thought about your case pretty deeply.

10                And so I -- you know, before you guys asked for an hour.

11     I’m going to tell you what I think.          I don’t need an hour, but I

12     want to let you have the opportunity.           I know your case now.      So

13     I’m going to do a few preliminaries.          Then I’m going to -- then I

14     think we should go through things on an issue -- there are not

15     that many issues, but I’m going to sort of tell you what I think.

16                So I’ve already said my point number one.              The Defense

17     kind of caved on that, revealing the defense strategy.                I think

18     they pretty much did reveal the defense strategy.                And so they

19     said what they wanted and why they wanted it and they said it

20     pretty specifically.       So I do think in the end, blessedly, a

21     process helps.

22                Two, I will just say CJA counsel.           I said this -- you’ve

23     heard it because I call Government cases first.               You are a more

24     substantial case.      It took a little bit more time because I was

25     waiting for Pretrial and the other were sort of quick appearances,
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                                                                                 6


 1     in person, kind of check in, you know, let’s problem solve going

 2     forward.     You saw Mr. Valdovinos.      I called that.       I called the

 3     short Government cases because I did want to not make CJA counsel

 4     wait on a short case.     But you saw what I said in that case.        That

 5     was a civil rights case.     What I said, there’s a certain amount of

 6     deference that attaches to right-minded lawyers who are on our CJA

 7     panel.     They’re not -- it’s a -- it’s a panel that has a certain

 8     noblesse oblige that attaches to it.         People in this district, I

 9     don’t -- I’m sure you guys appreciate how lucky we are to work in

10     the Northern District of California. I don’t think there’s a more

11     interesting or important district in the entire country.

12                  On criminal stuff, I have a little bit of a partiality,

13     the EDNY, and SDNY certainly does some interesting cases.            But of

14     all the places to practice law in the entire country, civil or

15     criminal, this is a pretty cool place to be.                  We do really

16     important work.       We have great lawyers in this district, great

17     lawyers who come to court and participate on our pane because

18     they’re contributing to the practice of law in this district.

19                  When I have those days where I feel discouraged by the

20     heaps of work that are piled on me, I think to myself how lucky am

21     I to be here with such lawyers in the district.            I think they get

22     cut a little slack because of that.         That’s obligation one.

23                  Point -- or point two -- couple other points before I go

24     to the nuts and bolts of the -- of the order.

25                  Privilege.   It’s not your privilege, Government, so I’m
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                                                                                      7


 1     going to say that.     It’s -- it’s Mr. Abramoff’s privilege, so I’ll

 2     get to that in a second.             I’m just putting in some of my

 3     handwritten notes before I -- you know, I’ve actually written an

 4     order, so I -- that doesn’t mean I’m not persuadable, but I put in

 5     the work to render concrete my thought process.

 6                  I have also the DOJ Discovery Policy Guidance that I

 7     want to remind everybody of.         The Discovery Policy Guidance is

 8     broader than the Rules -- on the DOJ website.            It used to be the

 9     U.S. Attorney’s Manual. It’s called the Criminal Blah Blah Manual

10     now.   I was going to read from it.        I’m not going to -- I’m not

11     going to pull it out now because I’m just saying it.

12                  What I -- what I read from that is why do you care so

13     much from the Government’s perspective, especially when I say the

14     discovery.    You know, I get burden.      I get the obligations of not

15     spelunking far afield in a case where discovery is confined by

16     Rule 16 and Brady.

17                  I also want to mention as a preliminary is that you

18     don’t -- you don’t have a duty to inquire except when it comes to

19     Brady where you do have a duty to inquire.            So some of the points

20     that the Defense team has raised, you know, reads in Brady.                  I do

21     think generally as a proposition, having been there -- I mean,

22     this is my -- who has the time?        And I say this as somebody who

23     has put a bunch of time on your case -- who has the time?               If you

24     -- if you have it, it feels dumb to me to sit on it.                 Okay.    So

25     those are my preliminaries.
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                                                                                    8


 1                  Now I’m going to tell you what I think about -- quickly

 2     about the standard.          I don’t necessarily need to hear argument

 3     about the standard.      I want us to talk concretely about the five

 4     issues or whatever that is still in play.               As I said, I already

 5     said it.     It reads in Brady.       I’m well aware of the 16(a)(1)(E)

 6     standard.     I appreciate the Government’s citation to Marshall

 7     (ph).     I don’t think it changes the analysis.           Hernandez-Meza is

 8     binding authority that rests on a standard in the earlier Doe

 9     case.     Other decisions apply it.        I think that, you know, in the

10     end there’s interesting case law.          I think it’s -- Hernandez says

11     it.     "It behooves the Government to interpret the disclosure

12     broadly and turn over whatever evidence it has pertaining to the

13     cases."

14                 So if you really want to tell me about the legal

15     standard,     I’ll    hear     it,   but   I   think      that   Marshall   is

16     distinguishable really on the facts because, you know -- they’re

17     interesting, and I did read all of my Rule 16.             It’s been a while.

18     It was applying out-of-circuit authority which has been criticized

19     since.     But more fundamentally on the facts, it really was a

20     fishing expedition for LAPD files, like a month before and five

21     months after the arrest to support a defense that, you know,

22     basically the Government -- that the LAPD basically always had

23     "consent searches," you know.          Oh, yeah, miraculously everybody

24     consents to being searched.

25                 And it was a fishing expedition.            And on appeal, in the
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                                                                                    9


 1     context of a full record -- which this is not on appeal -- you

 2     know, in Brady -- Brady is backward-looking and so that’s why it’s

 3     such a mistake not to turn over things and not to inquire.

 4                So I just think Marshall’s very distinguishable and it

 5     was -- it was a citation to an out-of-district -- an out-of-

 6     circuit case to support a conclusion that made great sense in that

 7     case, so that’s on the standard.

 8                Okay.      So if anyone really wants to talk about it, we

 9     can talk about it.

10                So then this is -- these are my thoughts.                  I’m just

11     going to tell you we can go issue by issue.            But, preliminarily,

12     the Defense made a pretty substantial showing in my view, enough

13     to get me over my general concerns, about some things but not

14     everything.    And so we’re going to go issue by issue and I’ll just

15     explain to you my thought process.

16                I’m going to start with the Abramoff documents.                 I’m

17     going to tell you what I think.         And then I’m going to tell the

18     party that that -- that the tentative goes against to tell you why

19     you think I’m wrong.       And -- and -- and so we’ll do it that way.

20                So the Government already provided an image of the

21     phone.   Great.       They did what they’re supposed to do.           They had

22     their taint team go through and do a cull of documents that looked

23     like they might be privileged.             The Defense made I think a

24     reasonable showing for all the reasons they articulated about the

25     brother -- that he -- and, look, you know, I’ll just leave you
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                                                                                     10


 1   with this, too, you know, this is -- you know, the indictment says

 2   the co-schemer -- that’s Mr. Abramoff -- who’s pleaded guilty in

 3   a different case.       I read the docket in that case.            I read the

 4   docket in the two other people who are implicated in this case.

 5   I read the -- you know, I read -- I looked at the docket sheets

 6   for all of those and -- and so -- in any event, so -- I get it.

 7   So Mr. Abramoff is Co-Schemer 1 or whatever he’s called in the

 8   indictment.     That’s Mr. Abramoff.

 9                 And so -- and this is his brother, and the -- the

10   Defense, among other things that it said, the Defense calls out,

11   you   know,    all   these   different   points   --    "Produce       the   image

12   already."     "Produce the other information from bank accounts, law

13   firm accounts, credit cards." Defense position is, "You know he’s

14   important or you wouldn’t be giving us all this information.

15   Produce the cell phone image."

16                 Government withholds some images as privileged.                 The

17   standard -- I’m sure you’re all familiar with it, because it’s a

18   criminal case rule -- I don’t know if I’m pronouncing it correctly

19   -- R-u-e-h-l-e -- is the privilege.         And, you know, normally when

20   privilege comes up, it comes up because the Government’s saying,

21   "Hey, you can’t withhold things as privileged."             It almost always

22   comes up in a grand jury context.           It doesn’t come up in this

23   context. But the standard, actually civil or criminal -- and that

24   case gets cited in the civil context, too, routinely, which is why

25   I know it -- is the party asserting the privilege has the burden
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                                                                               11


 1   of establishing it.     It’s because it impedes the full and free

 2   discovery of the truth.     It’s strictly construed.          And it’s not

 3   even the Government’s privilege.

 4             I thought the Defense proposal of like narrowing it by

 5   limiting it to the brother was a great proposal because the

 6   reality is the rest of it looks pretty darn privileged.             And so It

 7   think that’s maybe the genesis of your compromise.

 8             But I recognize there’s a burden.          The Government said

 9   in its brief, you know, "There are likely numerous communications

10   on the phone maybe on terms that are not privileged."                I think

11   that Mr. Andrade’s made a sufficient showing of materiality for

12   the reasons they advanced in their papers, and I wrote out

13   laboriously in the Draft Order that I’ve always constructed.

14             I get it’s a burden. I think the Government can perhaps

15   mitigate its burden by putting it in Mr. Abramoff’s direction. If

16   he challenges stuff withheld -- doesn’t challenge -- then there’s

17   no burden at all.   If he’s like, It’s not privileged, then there’s

18   no burden at all.    But, if not, the Government has to review the

19   documents and produce any that are not privileged.            And then you

20   can confer on the need for the form of the privilege log.

21             But I also think that because we’re bleeding it to

22   Brady, the Government has a duty to inquire and it is a mistake --

23   if there’s something on there that you’ve withheld broadly -- the

24   Government said something like, "We’re unaware of any authority

25   for using the Government resources for conducting supplemental
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                                                                              12


 1   privilege reviews."

 2               No.   I mean, the case law’s clear on whose privilege it

 3   is -- not the Government’s.        Mr. Abramoff’s.      And you can’t get

 4   out of it because it’s burdensome.           So that’s my tentative on

 5   that.

 6               So I’ll ask Mr. Highsmith because that’s a ruling that

 7   goes in Mr. Andrade’s direction to tell me why you think it’s

 8   wrong.

 9               MR. HIGHSMITH:      Just one -- one thing on -- and then

10   I’ll respond, Your Honor?

11               THE COURT:   Yes.

12               MR. HIGHSMITH:   Abramoff -- I think he is interested in

13   intervening to assert his privilege.         I think --

14               THE COURT:    So he can do a privilege log.              I have

15   privilege log procedures in my updated Standing Orders.               If he

16   wants to intervene, great.       How awesome is that?        Produce it to

17   him.     My Standing Order applies -- Elaine, when we file this

18   order, maybe attach my Standing Order.          If he’s going to assert

19   privilege, he needs to -- he needs to do the privilege log.               I

20   have a good one, by the way.       I used to do it when I had an old

21   job.     It was when I required a peephole.           And what the Civil

22   Division requires is what the Antitrust Division requires.               My

23   privilege log procedures derive directly from my own practice and,

24   great, he can intervene within a week if he wants to -- we’ll put

25   it on the minute order -- and we’ll come up with a privilege
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                                                                                 13


 1   procedure for him to assert privilege.          Great.      That will really

 2   help the Government.    Perfect.

 3             MR. HIGHSMITH:        May I just make one other point with

 4   regard to that, Your Honor?

 5             THE COURT:     Yes.

 6             MR. HIGHSMITH:        I think the other thing is is he does

 7   not -- he believes -- I don’t want me to speak for him.                I’m just

 8   kind of fronting this.

 9             THE COURT:     Yep.

10             MR. HIGHSMITH: You know, like family photos, grandkids,

11   stuff like that.

12             THE COURT:     Yeah, yeah, yeah.       That’s fine -- personal

13   stuff.   A good privilege log -- everybody knows this -- a good

14   privilege log helps.     Either it’s privileged or it’s not.               And

15   it’s -- it’s fine.    Look, if he wants to -- I’m not even opposed

16   to, you know, slight in-camera review after a privilege log is

17   produced, slight.    But I think we can come up with a process.            But

18   I’m going to order that -- that, you know, that we -- it’s not the

19   Government’s privilege.     I’m very happy, though, if Mr. Abramoff

20   intervenes.   I suggested in my order it’s his privilege.                   He

21   should review it.    If he has an objection, he should assert it.

22             MR. HIGHSMITH:     Understood, Your Honor.

23             THE COURT:     Okay.     All right.        But I’m going to order

24   the Government -- this is to the Defense -- I’m going to say the

25   taint team has to review it.       You just can’t get out of it.
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                                                                              14


 1                All right.   So I assume since that went your way on the

 2   Defense side, you don’t want to say anything, but you’re welcome

 3   to if you really want to.

 4                MR. SHEPARD:   No.     Thank you, Your Honor.

 5                THE COURT:   Okay.   All right.    So the Levin devices.    So

 6   I -- again, I -- I did -- I went through all this stuff that you

 7   produced to me in the form of your attachments.                  You -- the

 8   Government had described Mr. Levin more specifically as Mr.

 9   Abramoff’s associate.       That was one issue.          But the discovery

10   involves essentially four people -- Mr. Abramoff, Ms. Butina, Mr.

11   Levin, Mr. Erickson. All of them had relationships with Abramoff.

12   The Government describes Mr. Levin more specifically as "his

13   associate."

14                So those -- and then we have the 20 pages.          We have the

15   references in them, which the Defense referenced and which I have

16   summarized is relating to -- sorry -- I’ve lost my voice now for

17   several weeks.      The reason I had to cancel last Thursday, by the

18   way, is I couldn’t even whisper last Thursday; I couldn’t talk at

19   all.     And my voice is supported by constant lemon and honey, but

20   I couldn’t talk at all last Thursday.

21                So the Defense referenced the documents and what they

22   talk about, and they -- I just have to look at this one thing --

23   sorry.     Okay.    I would say that you see, you know, again the

24   notes.     Presumably it’s Mr. Erickson.         I think that’s what the

25   Defense posited.     Mr. Andrade said -- and this is what I thought
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                                                                             15


 1   was -- it’s -- you know, a thread that goes through this is that

 2   the discussions that you see in the record that the Defense

 3   proffers is a course of conduct that is different from how Mr.

 4   Andrade articulated his business.       You know, actually being able

 5   to identify the users, complying with regulatory requirements. So

 6   this thread that goes through the request is that we’re looking

 7   for information that actually supports that what they’re doing

 8   without his knowledge is inconsistent with his business model.

 9   That is what the discovery is about.

10               And I could see it by reading all the documents.        And so

11   it is very hard, especially looking at the standard -- not

12   Marshall, which I’ve distinguished as being an outlier case.             I

13   mean, I know people cite it, but the practical reality is we

14   almost -- we don’t see a lot of discovery orders in criminal

15   cases, for a bunch of reasons -- because we just don’t.             We get

16   some Brady at the end and you get the W.R. Grace and the Skilling

17   cases where they say, "Attaboy, Government.             You’ve cured any

18   issues because you showed your ..." -- well, W.R. Grace was not an

19   "Attaboy, Government." It was like, "You should have done it this

20   way."   Skilling was the -- you know, U.S. v. Skilling was just the

21   opposite.   The Government team, which was a great team -- I think

22   John Houston, et al. were on that team, and they just gave over

23   all their hot documents with an index and cured any issues that

24   could possibly attend discovery.

25               So I think when you read the proffer that the Defense
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                                                                               16


 1   has made, tethered to concrete documents, that’s why I think

 2   generally tethering it to just references -- this is an overall

 3   observation for the discovery at issue here -- tethering it just

 4   to AML Bitcoin and Mr. Andrade is just too narrow.          The fact of it

 5   is is that his defense -- and there’s nothing secret about it.

 6   You said it.    Whatever you said in your papers is what you said,

 7   and this is my reading of the evidence, but the thread of

 8   everything that you say is this was -- these were undermining.

 9   And so that to me is a sufficient articulation of the materiality

10   for Rule 16.

11             And how that goes to the Levin devices, it may be

12   cumulative -- I get it.    The Government led with that.            It may be

13   cumulative, but not necessarily.      Mr. Andrade says -- his counsel

14   says that the devices will have a full picture of what Mr. Levin

15   did with the information and provide insight into what he, Mr.

16   Abramoff, and others were doing.     And I think for the reasons I’ve

17   articulated is that’s the -- that’s the import of the request

18   here.

19             Give over the device.       Give over the device.          No AEO.

20   The Government didn’t argue AEO.          Then that goes against the

21   Government.    Mr. Highsmith, tell me why I’m wrong.

22             The next one will go your way, by the way -- Erickson --

23   just letting you know so you don’t have to feel too bad about it.

24             MR. HIGHSMITH:     Your Honor already spent so much time

25   drafting this order that I don’t want to --
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                                                                                17


 1                THE COURT:   Oh, it’s okay.      I just -- I didn’t mean it

 2   as a criticism.     I just wanted to tell you I prepared.

 3                MR. HIGHSMITH:    You know, look, Your Honor, the over-

 4   arching point is that there’s so much irrelevant information and

 5   we’re concerned about -- we’re, frankly, concerned about this

 6   Defendant misusing his discovery.          And so that’s the -- that’s

 7   the --

 8                THE COURT:   He’s got great layers and they’re in charge

 9   of -- I mean, everybody can be subject to protective orders about

10   -- you can use it in your litigation.           I assume you have one in

11   play.    I probably looked at it somewhere along the way.             And Mr.

12   Andrade -- I don’t know how he would misuse the information.               It

13   sure would be a bad mistake for him to do anything nefarious, and

14   I’m sure his lawyers would read him the riot act if he did

15   anything that was untoward because their job is to defend Mr.

16   Andrade and make sure he doesn’t stray.

17                And, again, I just put such confidence in the lawyers in

18   this case.    I really do.    I just -- I -- it’s such a big deal that

19   people step up and represent on our CJA panel.             That’s got to be

20   like in a case -- the Shifa (ph) case that I had, the civil rights

21   case, excessive force case, again, former jumpers (ph), lawyers,

22   but same thing; right?       Everybody’s a repeat player.        Everybody’s

23   honorable.    Everybody does a good job.        We see each other all the

24   time.    I trust the lawyers.       And Mr. Andrade -- I don’t have any

25   information to suggest Mr. Andrade’s going to misuse it.                  You
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                                                                                   18


 1   never raised the AEO argument anyway in your briefs, I do not

 2   believe, in the latest iteration of them, one fifty whatever that

 3   we’re into.

 4              So the fact that it’s cumulative, that’s the only issue

 5   that you really raised.      That was your main argument.         I recognize

 6   it probably wasn’t you raising it.                It might have been Mr.

 7   Weingarten.

 8              MR. HIGHSMITH:       We’re all the same, Your Honor.

 9              THE COURT:      I know.

10              MR. HIGHSMITH:       It doesn’t matter.        Okay.   Well, let’s

11   move on to our winning point.

12              THE COURT:      Okay.     Okay.     So let’s go -- that’s fine.

13   So I assume the Defense doesn’t need to say anything because that

14   goes your way.

15              All    right.      So     let’s     talk    about   the     Erickson

16   extractions.      I mean, this is like -- this is what I call a

17   tempest in a teapot or whatever.           The Government has said that it

18   asked the case agents.      They haven’t found anything.          They -- the

19   case -- the Government clarified. They first said the extractions

20   were destroyed in March, but the FBI closed the case file, hadn’t

21   located   any    information.        The     Government   seems   to    me   has

22   sufficiently satisfied its duty to inquire, not try to pull the

23   wool over anybody’s eyes.       I still have Mr. Weingarten’s voice --

24   a creeped voice in my head whenever we ask that together.                    He’s

25   like, What else -- what else can I do?           And I just -- I just -- I
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                                                                           19


 1   don’t think there’s any relief I can order, I mean, for a clear

 2   record.   I could say,    If you have the extractions, produce them.

 3   But the Government said -- because I think you have, according to

 4   my earlier observation, I think you’ve established enough of a

 5   materiality to be entitled to them if they exist for the reasons

 6   that I just put on the record, but the Government has said, We

 7   don’t have them.     There’s nothing more.          And I’m not going to

 8   order a fuller explanation than that.        I don’t think that’s what

 9   Brady requires and I don’t think that’s what Rule 16 requires of

10   me.

11              The honest broker thing has got to cut both ways, right,

12   so I say honest broker on the Defense side, honest broker on the

13   Government side.    All right.      So that from the Defense side, I

14   don’t know who’s going to speak.       Mr. Shepard’s got his mic off.

15   Do you want to say anything about that?

16              MR. SHEPARD: Briefly, Your Honor. To take up the point

17   that the Court was talking about very briefly, I do think it would

18   be appropriate for the Court to order that if the Government has

19   any records relating to the destruction of Erickson’s phone, that

20   they be ordered to produce it.       If they don’t have it, they can

21   say they don’t have it.

22              THE COURT:    See, here’s what I would say -- I don’t mean

23   to interrupt you, but this is what I was thinking, so I just -- it

24   just popped into my headset.       See what you think about this.

25              So one of the documents you gave me was like an evidence
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                                                                                  20


 1   review thing that the FBI did in a different device here.              I can’t

 2   -- it was in connection with one of the 302s that was about I

 3   think the Abramoff interview, and the FBI had done an evidence

 4   review on it.    And so one thing that I was going to order, because

 5   it’s a pretty easy thing to do -- I mean, look, I’m mindful of the

 6   -- as I said, I read the Erickson and Butina -- I took a look at

 7   Pacer and I read the informations.        I read the -- I looked at the

 8   docket sheet.    I looked at the plea agreements.           I looked at the

 9   statements that were attached to the plea agreements. Interesting

10   insight in how other districts do things, but you actually look at

11   their -- like commit to our pages in this district.            I don’t know

12   -- you know, it was interesting because not everybody does it the

13   way we do it.    But I get the kind of spelunking argument.

14                But I think for all the reasons that I’ve already

15   articulated, if they had any more information -- so what occurred

16   to me was I was going to order, you know, the extractions or

17   information about them, like the FBI evidence review that we saw.

18   Because it’s pretty easy.      Either they have it or not in the -- in

19   the   FBI   files,   and   everybody   knows   how    the   FBI      files   are

20   organized.    I know how they’re organized, too, but I’m not going

21   to say it on the record or in my order.         I hear you, Mr. Shepard,

22   about wanting the Government to produce an explanation about the

23   destruction, but I don’t think so.        I think they just -- if they

24   have extractions or something like the evidence reviewed that

25   summarizes what was on the phones, produce that.            But what’s the
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                                                                                 21


 1   authority for having me say to the Government, "Okay, if you have

 2   something, tell me what happened and why"?           I don’t think so, but

 3   you tell me why that’s wrong.

 4             MR. SHEPARD:     Well, the additional points I would make,

 5   Your Honor, are these.      First of all, in my experience, the FBI

 6   has a record for pretty much everything.

 7             THE COURT: Well, that’s why I said that’s why I thought

 8   the evidence review and calling up that as an example because we

 9   have it in this case, right, it’s helpful.           The evidence review,

10   by the way, was actually helpful for me like seeing your case, you

11   know, props to the FBI.

12             MR. SHEPARD:     Right.    The -- you know, so they had the

13   phone of somebody who they were prosecuting.

14             THE COURT:     Yep.

15             MR. SHEPARD:       And then they destroyed the phone of

16   somebody who they were prosecuting.        And it would seem to me they

17   would have a record of both of those.           That would just -- they

18   would have -- they would have done an evidence review.               They would

19   have done all those things.

20             THE COURT:     Well, if they have an evidence review, that

21   evidence -- that they will produce.       I’ve got a written order.         It

22   will say that.      But I’m not going to require the Government to

23   have any sort of explanation or give an explanation.             It’s up --

24   the Government has a duty to inquire.            I say that a number of

25   times in my order because of the Brady obligation to inquire.
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                                                                                22


 1   You’ve now raised the issue sufficiently.              I cited Sokoloff (ph).

 2   Is that the District Judge Pregerson opinion from 1999 or whatever

 3   that talks very helpfully about Brady being backward-looking but

 4   you’ve got to be forward-looking when you’re in the trial court.

 5   So I think that you’ve now, you know, raised a danger-danger Brady

 6   issue.   The Government has a duty to inquire.            And so it needs to.

 7   I do not ascribe -- maybe this makes me a pushover -- do not

 8   ascribe bad motive to the FBI.          My experience with them is that

 9   they’re nothing but meticulous.

10               MR. HIGHSMITH:         No one would accuse you of being a

11   pushover, Your Honor.

12               THE COURT: Well, I don’t know about that but, you know,

13   but -- you know, I think the FBI does a great job.                There it is.

14               So you’ll get your evidence, whatever evidence they have

15   about it.    I’ll order that.        There’s probably nothing, but it’s

16   going to be an order nonetheless.            But I’m not going to order

17   further explanation.       I don’t see any support for that.

18               MR. SHEPARD:     If I just could --

19               THE COURT:     Okay.

20               MR. SHEPARD:     -- add two sentences about that.

21               THE COURT:     Yeah.

22               MR. SHEPARD:    We do know in this case that the FBI knew

23   the relationship between Erickson and this case, and we were

24   asking for Erickson materials before the document -- we were

25   asking for Erickson materials before the phone was destroyed as
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                                                                                          23


 1   best -- as best --

 2                 THE COURT:        You’re going to --

 3                 MR. SHEPARD:        -- we could --

 4                 THE   COURT:         You’re     going    to     try    to   attack    the

 5   Government’s investigation as being shoddy.                      Great.       That’s --

 6   you’ve got the record for that.                 I don’t know that more of a

 7   production would actually hurt you or help you -- I don’t know --

 8   but -- you know, I hear you but the Government has said, The file

 9   was destroyed per whatever.             You know, if you can point me to a

10   specific example of a document that might exist, I’m happy to do

11   it, but I think that the evidence of what happened to the device,

12   which is what I’m ordering, what was -- the device extraction if

13   you    have   it    and,   if    not,   any   information        about    the    device

14   extraction that you have.            For example, the evidence review that

15   the group cited -- that you guys cited in this case.                      Produce it.

16   I mean, if there’s something else you learn, you can raise it

17   again, but I just -- and then what is the Government supposed to

18   say?    It’s not going to -- the file doesn’t exist anymore.                       What

19   else is there?       I’m aware of nothing.            I do know exactly how the

20   FBI organizes its files.

21                 MR. SHEPARD:        Right.    But --

22                 THE COURT:        And -- I know all of it.            They have to ask

23   for Brady, "Have you looked in this file?                   Have you looked in this

24   file?    Have you looked into this?"             So I understand that.            But I

25   just don’t know what else would exist; right?
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                                                                                        24


 1                 MR. SHEPARD:       I would expect they looked at the phone

 2   and I would expect when they destroyed the phone, they made a

 3   record of destroying the phone ’cause that’s the way the FBI

 4   operates.

 5                 THE COURT:        Yeah.     Okay.    Well, let’s -- all right.

 6   I’ll think about it further, but I don’t know.                    I’ll think about

 7   it.   Okay.

 8                 MR. SHEPARD: Especially in -- in light of the fact that

 9   the cases were related and we were asking about them.

10                 THE COURT:    Okay.       All right.    I’ll think about it, but

11   I -- I -- okay.

12                 Mr. Highsmith, anything that you want to add on this

13   point?    I don’t think there’s anything else there, so --

14                 MR. HIGHSMITH: I mean, obviously I disagree completely,

15   but I don’t think we need to tussle about it.

16                 THE COURT:   Okay.        Great.    So I think -- so now we’re on

17   to issue four, which is documents related to the searches and

18   seizures of the three devices.             You know, here Government already

19   apparently produced the Butina stuff which the Government should.

20   Contends the rest is about unrelated investigations.                          But I

21   already   said    this     --    I   already      said     this   in   my   kind   of

22   introductory comments and in the context of Levin and others.

23   Just limiting the production to references to Mr. Andrade and oft

24   the claim is just too narrow.             I’ve said that already and I said

25   why it’s too narrow.
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                                                                               25


 1             Mr. Andrade gave examples to the counsel that I already

 2   summarized, about how broader range of information is material.

 3   It’s   about   the    larger   model   of   this     business    model   for

 4   cryptocurrency, whether Mr. Abramoff was working against him and

 5   how this affects Mr. Andrade’s responsibility and scienter.              And

 6   it’s not a sufficient explanation that the discovery’s necessarily

 7   duplicative.   I already described why that wasn’t the case in the

 8   Levin case.

 9             I already said this issue about, you know -- you started

10   to get a little nervous right now. You’ve got the feel of Brady,

11   the echo of Brady and the Government’s duties to inquire.                And

12   I -- but if there’s really nothing related to this case and the

13   Government’s satisfied its duty of disclosure by confirming that

14   there’s nothing to disclose, then that’s fair and there’s nothing

15   to disclose.        But a search -- I’ve described the reach of

16   discovery I think sufficiently and this -- so I think it’s already

17   traveled territory, so I think -- now it’s like I’m a secret agent

18   of the Russian government and I didn’t tell anybody or I’ve got,

19   you know, some kind of a Ponzi scheme going on in Montana

20   involving real estate where I say I’m doing one thing and I’m

21   really just pocketing the money.

22             And I get it, so that’s fine.          But if there’s anything

23   in that review, then that should be produced.           If there’s nothing

24   and the Government’s satisfied its discovery obligation but given

25   the -- given the nexus that the Defense has -- has articulated,
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                                                                                26


 1   the Government’s characterization is too narrow, similarly, with

 2   the -- the same analysis applies to Butina and Erickson --

 3              MR. HIGHSMITH:        Your Honor, may I --

 4              THE COURT:     I’m just going to finish -- I’m just going

 5   to finish because I think the issues are kind of the same, and

 6   then you can address it.

 7              It’s just too narrow.          And so you can make -- you can

 8   make your own calls about the burdens about producing, but I -- a

 9   hundred percent I agree with the Government that Ms. Butina’s work

10   as an undisclosed Russian agent or Mr. Erickson’s real estate

11   schemes are not relevant to this case, hundred percent agree on

12   that   point.      The   issue    is   whether    there’s    something   about

13   essentially cryptocurrency and Abramoff and schemes.                If there’s

14   nothing there, there’s nothing there and you don’t have anything

15   to produce.     If there’s something there, you should produce it.

16   Your articulation of just limiting it to Mr. Andrade and AML

17   Bitcoin is too narrow for my taste.

18              Okay.    So Mr. Highsmith.

19              MR. HIGHSMITH:        I just wanted to distinguish Butina.        I

20   think the Court was talking about Butina; am I correct about that?

21              THE COURT:      I was talking about Butina and I was also

22   talking about Levin and Erickson.            Obviously, Levin didn’t make

23   any statements to the Government, but this is about the searches

24   and stuff that was seized with relation to the devices.

25              MR. HIGHSMITH:        Okay.   Okay.     Sorry.
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                                                                             27


 1               THE COURT:   And statements.       And statements for all of

 2   them.

 3               MR. HIGHSMITH: I was just talking about the Butina case

 4   file.

 5               THE COURT:   Okay.

 6               MR. HIGHSMITH:    If we had notes.        I don’t know if   --

 7   were those materials encompassed by what the Court just said or

 8   not?

 9               THE COURT:    Well, you’ve already produced the Butina

10   notes; right?       I’m just saying -- my over-arching comment was

11   limiting it to AML Bitcoin and Mr. Andrade is just too narrow.

12   He’s described -- he’s described his defense which is, They’re

13   backdooring me, had their own sets of schemes.             That goes to my

14   scienter.   What they were doing was inconsistent with my business

15   model.   It’s not me who’s responsible for all that stuff; it’s

16   them -- Mr. Abramoff.

17               MR. HIGHSMITH:    Understood.

18               THE COURT: Not necessarily the others. And information

19   about that is relevant to my defense, material to my defense --

20   sorry.

21               MR. HIGHSMITH:       Understood.     I was just saying the

22   Butina materials are totally irrelevant to that. She met Abramoff

23   socially once.

24               THE COURT:   And that’s fair.       Like if you’ve done your

25   duty and there’s nothing there as I’ve described it, then there’s
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                                                                              28


 1   nothing there.      I suspect the same may be true for Erickson and

 2   Levin.   I’m just broadening the scope of the inquiry somewhat.

 3                MR. HIGHSMITH:    Understood.

 4                THE COURT: Okay. Anything from you, Mr. Shepard? That

 5   went your way.

 6                MR. SHEPARD:    It -- I think it went my way, but I just

 7   want to --

 8                THE COURT:     You’re not getting -- it’s not -- secret

 9   agent land and real estate scheme land isn’t relevant. If there’s

10   anything else about crypto, Abramoff, something -- you’ve heard

11   how I defined it.     I made your defense and I broadened it and I --

12   the backdooring of Mr. Andrade is the -- is the flavor that I’m

13   ascribing to it.     And the Government defined things too narrowly

14   by what they said they did.         But I am skeptical that there’s

15   anything else there.

16                For me, if I -- you know, like I approach my life with

17   this in mind:       Who has the time?        But I’m not going to tell

18   like -- who has the time and I would just say, Fine, here it is

19   ’cause I don’t care.        Protective order.        Tell me if you really

20   want to use it, but I don’t have the time.

21                That’s what I would do, but I’m not -- that’s not the --

22   the Government doesn’t have to do it that way.                 They have to

23   produce Rule 16 material or Brady material.              And if they don’t

24   want to do it, they don’t want to do it, but they do have a duty

25   to look at it themselves and produce to you what’s material as
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                                                                             29


 1   I’ve defined it and they defined it too narrowly, so I’m skeptical

 2   that there’s anything there, but I’m ordering the Government -- I

 3   will issue an order ordering the Government to produce that.

 4             MR. SHEPARD: I appreciate that. There’s -- but I think

 5   there’s a gulf still between what the Court has directed the

 6   Government to do, which we appreciate, and what we think the

 7   Government should do.     And I would like to address that --

 8             THE COURT:    Okay.      Sure.   Of course.      Of course.

 9             MR. SHEPARD:    I don’t think it’s sufficient to say, Go

10   look for cryptocurrency, for example, because, you know, the --

11   the Court appreciates our defense, and I won’t repeat it, but to

12   think about it in a little deeper way, for want of a better term,

13   the -- one of the key questions both to exactly understand what

14   Abramoff and these other -- Butina, Erickson, Levin -- were doing

15   and understand why they were doing it, you want to know what else

16   -- what is it that, say, Levin was doing that would explain why he

17   was working with Abramoff and why they were taking these steps

18   with respect to Mr. Andrade’s business.              And that might mean a

19   whole lot of things that have nothing to do with cryptocurrency.

20   Maybe they needed money for some other purpose. Maybe they needed

21   the technology for some other purpose.           So just limiting it to

22   cryptocurrency isn’t really gonna capture what they were doing and

23   why they were doing it.

24             THE COURT:    Well, I defined it a little bit maybe more

25   broadly than, you know -- I defined it more as that Mr. Abramoff
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                                                                                     30


 1   may have been working against Mr. Andrade.

 2              MR. SHEPARD:       Right, and -- and -- exactly, and the

 3   question is why and what were the motivations for doing that?

 4   What were the interests for doing that?                  And that shouldn’t be

 5   limited to just cryptocurrency. I don’t know what they might have

 6   been doing.    The evidence suggests they were doing something that

 7   was adverse to Mr. Andrade’s business and they must have had some

 8   reason   for   doing    it.     And     whether    that     reason   relates    to

 9   cryptocurrency or not, --

10              THE COURT:      I get it.     I get it.       I get it.   I will just

11   say evidence about Ms. Butina’s undisclosed work as a Russian

12   agent is really -- unless there’s impeachment evidence about Mr.

13   Abramoff which Government’s already represented that the evidence

14   that they have shows only one meeting.              So there’s no -- there’s

15   not going to be anything there.           That’s Ms. Butina.

16              Mr. Levin, Mr. Erickson, yeah, maybe.                     But if the

17   Government investigation for the real estate scheme is just about

18   the real estate scheme and it’s got nothing to do with Mr.

19   Abramoff, there’s nothing there, nothing, then the Government

20   doesn’t have any discovery obligation there ’cause Mr. Erickson is

21   just, you know, his own little schemer in Montana or wherever he

22   was.

23              Mr. Levin, maybe.          So say it -- maybe.       That’s a little

24   bit broader.    But at least you’re getting your device.                  And, you

25   know -- and you know how it is.          You can’t possibly get everything
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                                                                              31


 1   you -- you don’t want to leave any stone unturned.            I understand.

 2   The plus side of getting more information than you have is it

 3   gives you a broader -- everybody’s got all their stuff on their

 4   phone, and -- and I’ve defined it pretty broadly, so I hear you.

 5   I’ll think about it.       But, you know, if what the Government says

 6   is -- what I think the Government really is saying, they defined

 7   it to narrowly -- it’s all about this, you know, meetings with

 8   powerful    people   and    insinuating   themselves      into   Washington

 9   politics and having events and doing all this stuff without

10   disclosing that she’s a Russian agent.           Mr. Erickson, the real

11   estate scheme in Montana for goodness sake, right, so he shows up

12   in this case and -- and if all this stuff in that other cases,

13   like these are the lies to the investors, you know, he -- this is

14   what he did, this is the scheme, if that’s all there is, which I

15   think that’s what the Government’s saying, there’s no there there

16   and you’re not entitled to it.

17               That said, I hear you on the way you’ve defined your

18   defense, and I would just say for -- and I did say to the

19   Government, you make your own call as to how much work you want to

20   do.   But these things are not relevant and I believe that probably

21   that’s all that is there, I would get the case file and look at it

22   if I were on the case myself and I’d make sure that that was

23   correct and -- and it’s certainly going to be correct with Ms.

24   Butina.    I’m just going to say it’s certainly going to be correct

25   with Ms. Butina.     I don’t know about the other two, but that’s --
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                                                                                       32


 1   okay.   So that’s -- those are my thoughts.

 2                 All right.    Anything else?         If not, we’re going to move

 3   on to the next case.

 4                 MR. SHEPARD:      If I could just briefly touch on Butina

 5   because, yes, she was a Russian spy.               We don’t know what she was

 6   doing   for    Russia    and    whether     that   had     anything   to   do   with

 7   cryptocurrency or not, but what we do know about her is that she

 8   and Erickson were a couple.

 9                 THE COURT:     I knew that.       Yep, saw that.

10                 MR. SHEPARD:       She -- you know, these documents were

11   found in her home.       They were, you know, packaged up for review in

12   her home.     And so I don’t think it’s right to say that the chances

13   that there’s any other connection with her and the interests of

14   this case, I just don’t -- I think there’s enough connection that

15   she has that real serious inquiry is required.                  And I guess that

16   gets to the procedural question as to, you know, is this left

17   entirely in the Government’s hands.

18                 THE COURT:       Well, they’re the ones with the discovery

19   obligation; right?         So that’s the -- that’s the landscape we’re

20   stuck with.      It’s true of any discovery dispute.

21                 MR. SHEPARD:      Well, it is and it isn’t.          Of course, the

22   Court has ordered them to produce, for example, Levin’s device.

23   So there are things that the Court can do.                 And our experience in

24   this case, again recognizing that, as the Court has noticed, these

25   are repeat players who merit respect, but our experience has not
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                                                                                          33


 1   been   great   so    far.        And   I   don’t    really     attribute     that    to

 2   particular AUSAs.

 3                THE COURT:      I’m not -- I’m sure it’s not malicious, but

 4   it’s not what you had hoped for.

 5                MR. SHEPARD:        Right, and the Court has heard me about

 6   this before.        It’s not particular AUSAs.                There seem to be a

 7   moving cast of them and they’re always catching up.                       And I -- I

 8   think it really goes back to where we were at the start which is

 9   whoever has been making these calls, and I expect it’s been the

10   FBI agents, they don’t appreciate what the standard is.                          And so

11   we’ve had this, you know, nine months of them telling us that the

12   Butina documents weren’t relevant. They didn’t -- the only way we

13   learned about those to begin with was because we listened to a

14   recording of an interview.             It didn’t show up anyplace else.              We

15   learned   about     it    that    way.      We   told       them   we   wanted    these

16   documents.     We got nine months of, This is all conspiracy theory.

17   We’re not giving it to you.              We have to go file a motion.

18                We filed the motion and then they turn them over and it

19   turns out they’re, as the Court recognizes, they form a good basis

20   for a defense.      So our, you know -- again, not meaning anything --

21                THE COURT: Dirtying up Abramoff, however that gets done

22   -- I mean, I’m just gonna say it -- that’s your defense, too,

23   right?    You’re going to dirty him up.

24                MR. SHEPARD:        Right.     Right.     Right.

25                THE COURT:      I get it.
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                                                                                  34


 1                MR. SHEPARD:     So -- so -- and we get this, Okay, we’ll

 2   do search terms of AML Bitcoin and Andrade that isn’t even close.

 3   And so --

 4                THE COURT:     No.   I agree with that.      I agree with you.

 5                MR. SHEPARD:    So the -- so the whole process of where we

 6   go from here, therefore, gives me some pause.

 7                THE COURT:      Well, let’s -- I hear you.               I -- I’ve

 8   written an order that I think is pretty good defining what the

 9   scope of the investigation is.         And it is a joke, but -- to Mr.

10   Highsmith, I just think it’s -- sometimes the low road is a good

11   road because, you know, who has the time?             But that’s not my job

12   to tell you how to do your job.        I just -- I don’t have the time,

13   you know.    I don’t have the time now.      Fine, Mr. Shepard, here you

14   go.   Bless you.     So that’s a different approach.          It’s not what

15   I’m ordering.      But it -- because it doesn’t matter.           It doesn’t

16   matter.     But -- and I really do think, you know, Rule 16 is such

17   a -- the way the criminal discovery -- you guys may or may not

18   know this, but it was originally you were supposed -- it was

19   originally proposed as a uniform standard for civil and criminal

20   discovery and it was kind of a last-minute intervention that

21   criminal rules wound up the way they do.

22                And one of the problems is -- and I don’t know that it

23   would necessarily happen here -- you just never know at the end of

24   the day what’s going to come out that changes your mind.                 I will

25   tell you that I went on some spelunking or expedition myself when
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                                                                              35


 1   I was an AUSA and it was the FBI agent I worked with said, Well,

 2   you may not have solved a crime, but you solved a mystery, and so

 3   it’s -- sometimes things just don’t shake out the way you think

 4   they’re going to because I had this whole theory that was one way.

 5   The absence of information was my -- was my case, you know.           Who’s

 6   sneaking around?    Look at this radio silence.        And so I just -- I

 7   will say that it’s -- I guess just practically, I think one

 8   sometimes needs to approach problem-solving practically.            But I’m

 9   not going to order that because that’s not what the law requires.

10   It’s up to the Government to decide how it wants to manage its

11   burdens.

12              And I will take everybody’s arguments under submission

13   and issue an order very shortly, likely today or tomorrow.

14              MR. SHEPARD:     Thank you, Your Honor.

15              THE COURT:     Sure.

16              MR. SHEPARD:    And hopefully that would include whatever

17   activity Erickson, Butina, Levin --

18              THE COURT:     Yep.

19              MR. SHEPARD:     -- were engaged in with Abramoff.

20              THE COURT:   Yeah, yeah, yeah.     So that’s -- I’ll look at

21   it -- I’ll do another read and Abramoff is the big one.             And so,

22   Elaine, can you put on the minute order, because I’m not going to

23   put it in this order because I don’t want to clutter it up because

24   it’s really tangential, just say, "Court had a discovery hearing

25   and will issue a discovery order."      Mr. -- well, actually it’s the
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                                                                             36


 1   Government -- "Mr. Abramoff may intervene if he chooses and must

 2   file a privilege log -- must produce a privilege log that comports

 3   with the Court’s Standing Order" and then attach my Standing Order

 4   to the -- to the minute entry.        It just says my privilege log

 5   procedures and they’re pretty -- they’re pretty thorough.             So --

 6   and I’ll just leave it at that.      I don’t really want to touch any

 7   of this.   I already suggest that Mr. -- in my order, I’ve already

 8   suggested that if Mr. Abramoff wants to assert privilege, he’s

 9   entitled to do so.    I think there’s a real utility to getting him

10   involved in the process because basically someone’s going to do

11   the privilege review and produce a privilege log.           And it doesn’t

12   excuse the Government’s obligations necessarily, but I think it

13   will probably practically resolve the issue.

14              Okay.    Thanks, everybody.      We’re going to go off the

15   record.

16        (Proceedings adjourned at 11:30 a.m.)

17

18              I, Peggy Schuerger, certify that the foregoing is a

19   correct transcript from the official electronic sound recording

20   provided to me of the proceedings in the above-entitled matter.

21
                                                          April 13, 2023
22   Signature of Approved Transcriber                    Date

23   Peggy Schuerger
     Ad Hoc Reporting
24   Approved Transcription Provider
     for the U.S. District Court,
25   Northern District of California
